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                       EXHIBIT A

                     Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )   Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No. __

                        ORDER AUTHORIZING THE
           RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
      AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
     DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF AUGUST 6, 2023
                                                            2
             Upon the application (the “Application”) of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for the entry of an order (the “Order”) authorizing the

Debtors to retain and employ Kirkland & Ellis LLP and Kirkland & Ellis International LLP

(collectively, “Kirkland”) as their attorneys effective as of the Petition Date, pursuant to sections

327(a) and 330 of title 11 of the United States Code (the “Bankruptcy Code”), rules 2014(a) and

2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1

and 2016-1 of the Local Bankruptcy Rules for the District of Delaware (the “Local Rules”); and

the Court having reviewed the Application, the Declaration of Patrick J. Nash, Jr., the president of

Patrick J. Nash Jr., P.C., a partner of Kirkland & Ellis LLP, and a partner of Kirkland & Ellis

International LLP, (the “Nash Declaration”), and the declaration of Matthew A. Doheny, the Chief

Restructuring Officer of Yellow Corporation (the “Doheny Declaration”); and the Court having



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
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found that the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and

the Court having found that the Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

and the Court having found that venue of this proceeding and the Application in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found based on the

representations made in the Application and in the Nash Declaration that (a) Kirkland does not

hold or represent an interest adverse to the Debtors’ estates and (b) Kirkland is a “disinterested

person” as defined in section 101(14) of the Bankruptcy Code and as required by section 327(a)

of the Bankruptcy Code; and the Court having found that the relief requested in the Application is

in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and the

Court having found that the Debtors provided adequate and appropriate notice of the Application

under the circumstances and that no other or further notice is required; and the Court having

reviewed the Application and having heard statements in support of the Application at a hearing

held before the Court (the “Hearing”); and the Court having determined that the legal and factual

bases set forth in the Application and at the Hearing establish just cause for the relief granted

herein; and any objections to the relief requested herein having been withdrawn or overruled on

the merits; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Application is granted to the extent set forth herein.

       2.      The Debtors are authorized to retain and employ Kirkland as their attorneys

effective as of the Petition Date in accordance with the terms and conditions set forth in the

Application and in the Engagement Letter attached hereto as Exhibit 1.




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       3.      Kirkland is authorized to provide the Debtors with the professional services as

described in the Application and the Engagement Letter. Specifically, but without limitation,

Kirkland will render the following legal services:

               a.     advising the Debtors with respect to their powers and duties as debtors in
                      possession in the continued management and operation of their properties;

               b.     advising and consulting on their conduct during these chapter 11 cases,
                      including all of the legal and administrative requirements of operating in
                      chapter 11;

               c.     attending meetings and negotiating with representatives of creditors and
                      other parties in interest;

               d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                      including prosecuting actions on the Debtors’ behalf, defending any action
                      commenced against the Debtors, and representing the Debtors in
                      negotiations concerning litigation in which the Debtors are involved,
                      including objections to claims filed against the Debtors’ estates;

               e.     preparing pleadings in connection with these chapter 11 cases, including
                      motions, applications, answers, orders, reports, and papers necessary or
                      otherwise beneficial to the administration of the Debtors’ estates;

               f.     representing the Debtors in connection with obtaining authority to continue
                      using cash collateral and postpetition financing;

               g.     advising the Debtors in connection with any potential sale of assets;

               h.     appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates;

               i.     advising the Debtors regarding tax matters;

               j.     taking any necessary action on behalf of the Debtors to negotiate, prepare,
                      and obtain approval of a disclosure statement and confirmation of a chapter
                      11 plan and all documents related thereto; and

               k.     performing all other necessary legal services for the Debtors in connection
                      with the prosecution of these chapter 11 cases, including: (i) analyzing the
                      Debtors’ leases and contracts and the assumption and assignment or
                      rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                      assets; and (iii) advising the Debtors on corporate and litigation matters.




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         4.     Kirkland shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures as set forth in the Guidelines for Reviewing Applications

for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases Effective as of November 1, 2013, both in connection with the

Application and the interim and final fee applications to be filed by Kirkland in these chapter 11

cases.

         5.     Notwithstanding anything in the Engagement Letter to the contrary, Kirkland shall

apply any remaining amounts of its prepetition special purpose retainer as a credit toward

postpetition fees and expenses, after such postpetition fees and expenses are approved pursuant to

an order of the Court awarding fees and expenses to Kirkland. Kirkland is authorized without

further order of the Court to reserve and apply amounts from the prepetition special purpose

retainer that would otherwise be applied toward payment of postpetition fees and expenses as are

necessary and appropriate to compensate and reimburse Kirkland for fees or expenses incurred on

or prior to the Petition Date consistent with its ordinary course billing practices.

         6.     Notwithstanding anything to the contrary in the Application, the Engagement

Letter, or the Declarations attached to the Application, the reimbursement provisions allowing the

reimbursement of fees and expenses incurred in connection with participating in, preparing for, or

responding to any action, claim, suit, or proceeding brought by or against any party that relates to

the legal services provided under the Engagement Letter and fees for defending any objection to


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Kirkland’s fee applications under the Bankruptcy Code are not approved pending further order of

the Court.

       7.      Kirkland shall not charge a markup to the Debtors with respect to fees billed by

contract attorneys who are hired by Kirkland to provide services to the Debtors and shall ensure

that any such contract attorneys are subject to conflict checks and disclosures in accordance with

the requirements of the Bankruptcy Code and Bankruptcy Rules.

       8.      Kirkland shall provide ten-business-days’ notice to the Debtors, the U.S. Trustee,

and any official committee before any increases in the rates set forth in the Application or the

Engagement Letter are implemented and shall file such notice with the Court. The U.S. Trustee

retains all rights to object to any rate increase on all grounds, including the reasonableness standard

set forth in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

increase pursuant to section 330 of the Bankruptcy Code.

       9.      The Debtors and Kirkland are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.

       10.     Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Local Rules are satisfied by the contents

of the Application.

       11.     To the extent the Application, the Nash Declaration, the Doheny Declaration, or the

Engagement Letter is inconsistent with this Order, the terms of this Order shall govern.

       12.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.




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       13.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.




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                       EXHIBIT 1

                    Engagement Letter
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                                            300 North LaSalle
                                            Chicago, IL 60654
 Patrick J. Nash, Jr. P.C.                    United States
  To Call Writer Directly:                                                            Facsimile:
      +1 312 862 2290                       +1 312 862 2000                        +1 312 862 2200
patrick.nash@kirkland.com
                                            www.kirkland.com




                                            July 27, 2023

Leah Dawson
Yellow Corporation
5200 W. 110th Street
Overland Park, KS 66211


                    Re: Retention to Provide Legal Services

Dear Ms. Dawson,

        We are very pleased that you have asked us to represent Yellow Corporation and only
those wholly or partially owned subsidiaries listed in an addendum or supplement to this letter
(collectively, “Client”) in connection with a potential restructuring. Please note, the Firm’s
representation is only of Client; the Firm does not and will not represent any direct or indirect
shareholder, director, officer, partner, employee, affiliate, or joint venturer of Client or of any
other entity.

        General Terms. This retention letter (this “Agreement”) sets forth the terms of Client’s
retention of Kirkland & Ellis LLP (and its affiliated entity Kirkland & Ellis International LLP
(collectively, the “Firm”)) to provide legal services and constitutes an agreement between the
Firm and Client (the “Parties”). This Agreement (notwithstanding any guidelines for outside
counsel that Client may provide to the Firm) sets forth the Parties’ entire agreement for rendering
professional services for the current matter, as well as for all other existing or future matters
(collectively, the “Engagement”), except where the Parties otherwise agree in writing.

        Fees. The Firm will bill Client for fees incurred at its regular hourly rates and in
quarterly increments of an hour (or in smaller time increments as otherwise required by a court).
The Firm reserves the right to adjust the Firm’s billing rates from time to time in the ordinary
course of the Firm’s representation of Client.

       Although the Firm will attempt to estimate fees to assist Client in Client’s planning if
requested, such estimates are subject to change and are not binding unless otherwise expressly
and unequivocally stated in writing.

       Expenses. Expenses related to providing services shall be included in the Firm’s
statements as disbursements advanced by the Firm on Client’s behalf. Such expenses include
photocopying, printing, scanning, witness fees, travel expenses, filing and recording fees, certain
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secretarial overtime, and other overtime expenses, postage, express mail, and messenger charges,
deposition costs, computerized legal research charges, and other computer services, and
miscellaneous other charges. Client shall pay directly (and is solely responsible for) certain
larger costs, such as consultant or expert witness fees and expenses, and outside suppliers’ or
contractors’ charges, unless otherwise agreed by the Parties. By executing this Agreement
below, Client agrees to pay for all charges in accordance with the Firm’s schedule of charges, a
copy of which is attached hereto at Schedule 1, as revised from time to time.

        Billing Procedures. The Firm’s statements of fees and expenses are typically delivered
monthly, but the Firm reserves the right to alter the timing of delivering its statements depending
on circumstances. Client may have the statement in any reasonable format it chooses, but the
Firm will select an initial format for the statement unless Client otherwise requests in writing.
Depending on the circumstances, however, estimated or summary statements may be provided,
with time and expense details to follow thereafter.

        Retainer. Client agrees to provide to the Firm a “special purpose retainer” (also known
as an “advance payment retainer”) as defined in Rule 1.5(d) of the Illinois Rules of Professional
Conduct, Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007), and In re
Caesars Entm’t Operating Co., Inc., No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and
cases cited therein), in the amount of $1.5 million. In addition, Client agrees to provide one or
more additional special purpose retainer upon request by the Firm so that the amount of any
special purpose retainer remains at or above the Firm’s estimated fees and expenses. The Firm
may apply the special purpose retainer to any outstanding fees as services are rendered and to
expenses as they are incurred. Client understands and acknowledges that any special purpose
retainer is earned by the Firm upon receipt, any special purpose retainer becomes the property of
the Firm upon receipt, Client no longer has a property interest in any special purpose retainer
upon the Firm’s receipt, any special purpose retainer will be placed in the Firm’s general account
and will not be held in a client trust account, and Client will not earn any interest on any special
purpose retainer; provided, however, that solely to the extent required under applicable law, at
the conclusion of the Engagement, if the amount of any special purpose retainer held by the Firm
is in excess of the amount of the Firm’s outstanding and estimated fees, expenses, and costs, the
Firm will pay to Client the amount by which any special purpose retainer exceeds such fees,
expenses, and costs. Client further understands and acknowledges that the use of a special
purpose retainer is an integral condition of the Engagement, and is necessary to ensure that:
Client continues to have access to the Firm’s services; the Firm is compensated for its
representation of Client; the Firm is not a pre-petition creditor in the event of a Restructuring
Case; and that in light of the foregoing, the provision of the special purpose retainer is in Client’s
best interests. The fact that Client has provided the Firm with a special purpose retainer does not
affect Client’s right to terminate the client-lawyer relationship.

        Please be advised that there is another type of retainer known as a “security retainer,” as
defined in Dowling v. Chicago Options Assoc., 875 N.E.2d at 1018, and In re Caesars Entm’t
Operating Co., Inc., No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and cases cited
therein). A security retainer remains the property of the client until the lawyer applies it to
charges for services that are actually rendered and expenses that are incurred. Any unearned
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funds are then returned to the client. In other circumstances not present here, the Firm would
consider a security retainer and Client’s funds would be held in the Firm’s segregated client trust
account until applied to pay fees and expenses. Funds in a security retainer, however, can be
subject to claims of Client’s creditors and, if taken by creditors, may leave Client unable to pay
for ongoing legal services, which may result in the Firm being unable to continue the
Engagement. Moreover, a security retainer creates clawback risks for the Firm in the event of an
insolvency proceeding. The choice of the type of retainer to be used is Client’s choice alone, but
for the Engagement and for the reasons set forth above, the Firm is unwilling to represent Client
in the Engagement without using the special purpose retainer.

        Termination. The Engagement may be terminated by either Party at any time by written
notice by or to Client. The Engagement will end at the earliest of (a) Client’s termination of the
Engagement, (b) the Firm’s withdrawal, and (c) the substantial completion of the Firm’s
substantive work. If permission for withdrawal is required by a court, the Firm shall apply
promptly for such permission, and termination shall coincide with the court order for withdrawal.
If this Agreement or the Firm’s services are terminated for any reason, such termination shall be
effective only to terminate the Firm’s services prospectively and all the other terms of this
Agreement shall survive any such termination.

       Upon cessation of the Firm’s active involvement in a particular matter (even if the Firm
continues active involvement in other matters on Client’s behalf), the Firm will have no further
duty to inform Client of future developments or changes in law as may be relevant to such
matter. Further, unless the Parties mutually agree in writing to the contrary, the Firm will have
no obligation to monitor renewal or notice dates or similar deadlines that may arise from the
matters for which the Firm had been retained.

         Cell Phone and E-Mail Communication. The Firm hereby informs Client and Client
hereby acknowledges that the Firm’s attorneys sometimes communicate with their clients and
their clients’ professionals and agents by cell telephone, that such communications are capable of
being intercepted by others and therefore may be deemed no longer protected by the attorney-
client privilege, and that Client must inform the Firm if Client does not wish the Firm to discuss
privileged matters on cell telephones with Client or Client’s professionals or agents.

        The Firm hereby informs Client and Client hereby acknowledges that the Firm’s
attorneys sometimes communicate with their clients and their clients’ professionals and agents
by unencrypted e-mail, that such communications are capable of being intercepted by others and
therefore may be deemed no longer protected by the attorney-client privilege, and that Client
must inform the Firm if Client wishes to institute a system to encode all e-mail between the Firm
and Client or Client’s professionals or agents.

        File Retention. All records and files will be retained and disposed of in compliance with
the Firm’s policy in effect from time to time. Subject to future changes, it is the Firm’s current
policy generally not to retain records relating to a matter for more than five years. Upon Client’s
prior written request, the Firm will return client records that are Client’s property to Client prior
to their destruction. Although we will return your records (i.e., your client file) to you at any
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time upon your written request, you agree that your client file will not include our Firm’s internal
files including administrative materials, internal communications, and drafts. It is not
administratively feasible for the Firm to advise Client of the closing of a matter or the disposal of
records. The Firm recommends, therefore, that Client maintain Client’s own files for reference
or submit a written request for Client’s client files promptly upon conclusion of a
matter. Notwithstanding anything to the contrary herein, Client acknowledges and agrees that
any applicable privilege of Client (including any attorney-client and work product privilege or
any duty of confidentiality) (collectively, the “Privileges”) belongs to Client alone and not to any
successor entity (including without limitation the Client after a change in control or other similar
restructuring or non-restructuring transaction (including without limitation a reorganized Client
after the effective date of a plan of reorganization), whether through merger, asset or equity sale,
business combination, or otherwise, irrespective of whether such transaction occurs in a
Restructuring Case or on an out-of-court basis (in each case, a “Transaction”)). Client hereby
waives any right, title, and interest of such successor entity to all information, data, documents,
or communications in any format covered by the Privileges that is in the possession of the Firm
(“Firm Materials”), to the extent that such successor entity had any right, title, and interest to
such Firm Materials. For the avoidance of doubt, Client agrees and acknowledges that after a
Transaction, such successor entity shall have no right to claim or waive the Privileges or request
the return of any such Firm Materials; instead, such Firm Materials shall remain in the Firm’s
sole possession and control for its exclusive use, and the Firm will (a) not waive any Privileges
or disclose the Firm Materials, (b) take all reasonable steps to ensure that the Privileges survive
and remain in full force and effect, and (c) assert the Privileges to prevent disclosure of any Firm
Materials.

         Data Protection. You further agree that, if you provide us with personal data, you have
complied with applicable data protection legislation and that we may process such personal data
in accordance with our Data Transfer and Privacy Policy at www.kirkland.com. We process
your personal data in order to (i) carry out work for you; (ii) share the data with third parties such
as expert witnesses and other professional advisers if our work requires; (iii) comply with
applicable laws and regulations and (iv) provide you with information relating to our Firm and
its services.

       Conflicts of Interest. As is customary for a law firm of the Firm’s size, there are
numerous business entities, with which Client currently has relationships, that the Firm has
represented or currently represents in matters unrelated to Client.

         Further, in undertaking the representation of Client, the Firm wants to be fair not only to
Client’s interests but also to those of the Firm’s other clients. Because Client is engaged in
activities (and may in the future engage in additional activities) in which its interests may
diverge from those of the Firm’s other clients, the possibility exists that one of the Firm’s current
or future clients may take positions adverse to Client (including litigation or other dispute
resolution mechanisms) in a matter in which such other client may have retained the Firm or one
of Client’s adversaries may retain the Firm in a matter adverse to another entity or person.
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        In the event a present conflict of interest exists between Client and the Firm’s other
clients or in the event one arises in the future, Client agrees to waive any such conflict of interest
or other objection that would preclude the Firm’s representation of another client (a) in other
current or future matters substantially unrelated to the Engagement or (b) other than during a
Restructuring Case (as defined below), in other matters related to Client (such representation an
“Allowed Adverse Representation”). By way of example, such Allowed Adverse
Representations might take the form of, among other contexts: litigation (including arbitration,
mediation and other forms of dispute resolution); transactional work (including consensual and
non-consensual merger, acquisition, and takeover situations, financings, and commercial
agreements); counseling (including advising direct adversaries and competitors); and
restructuring (including bankruptcy, insolvency, financial distress, recapitalization, equity and
debt workouts, and other transactions or adversarial adjudicative proceedings related to any of
the foregoing and similar matters).

         Client also agrees that it will not, for itself or any other entity or person, assert that either
(i) the Firm’s representation of Client or any of Client’s affiliates in any past, present, or future
matter or (ii) the Firm’s actual or possible possession of confidential information belonging to
Client or any of Client’s affiliates is a basis to disqualify the Firm from representing another
entity or person in any Allowed Adverse Representation. Client further agrees that any Allowed
Adverse Representation does not breach any duty that the Firm owes to Client or any of Client’s
affiliates. Client also agrees that the Firm’s representation in the Engagement is solely of Client
and that no member or other entity or person related to it (such as a shareholder, parent,
subsidiary, affiliate, director, officer, partner, employee, or joint venturer) has the status of a
client for conflict of interest purposes.

       In addition, if a waiver of a conflict of interest necessary to allow the Firm to represent
another client in a matter that is not substantially related to the Engagement is not effective for
any reason, Client agrees that the Firm may withdraw from the Engagement. Should that occur,
Client will not, for itself or any other entity or person, seek to preclude such termination of
services or assert that either (a) the Firm’s representation of Client or any of Client’s affiliates in
any past, present, or future matter or (b) the Firm’s actual or possible possession of confidential
information belonging to Client or any of Client’s affiliates is a basis to disqualify the Firm from
representing such other client or acting on such adverse matter.

        It is important that you review this letter carefully and consider all of the advantages and
disadvantages of waiving certain conflicts of interests that would otherwise bar the Firm from
representing parties with interests adverse to you during the time in which the Firm is
representing you. You also understand that because this waiver includes future issues and future
clients that are unknown and unknowable at this time, it is impossible to provide you with any
more details about those prospective clients and matters. Thus, in choosing to execute this
waiver, you have recognized the inherent uncertainty about the array of potential matters and
clients the Firm might take on in matters that are adverse to you but have nonetheless decided it
is in your interest to waive conflicts of interest regarding the Allowed Adverse Representations
and waive rights to prohibit the Firm’s potential withdrawal should a conflict waiver prove
ineffectual.
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         The Firm informs Client that certain entities owned by current or former Firm attorneys
and senior staff (“attorney investment entities”) have investments in funds or companies that
may, directly or indirectly, be affiliated with Client, hold investments in Client’s debt or equity
securities, may be adverse to Client, or conduct commercial transactions with Client (each, a
“Passive Holding”). The attorney investment entities are passive and have no management or
other control rights in such funds or companies. The Firm notes that other persons may in the
future assert that a Passive Holding creates, in certain circumstances, a conflict between the
Firm’s exercise of its independent professional judgment in rendering advice to Client and the
financial interest of Firm attorneys participating in the attorney investment entities, and such
other persons might seek to limit Client’s ability to use the Firm to advise Client on a particular
matter. While the Firm cannot control what a person might assert or seek, the Firm believes that
the Firm’s judgment will not be compromised by virtue of any Passive Holding. Please let us
know if Client has any questions or concerns regarding the Passive Holdings. By executing this
letter, Client acknowledges the Firm’s disclosure of the foregoing.

        Restructuring Cases. If it becomes necessary for Client to commence a restructuring
case under chapter 11 of the U.S. Bankruptcy Code (a “Restructuring Case”), the Firm’s ongoing
employment by Client will be subject to the approval of the court with jurisdiction over the
petition. If necessary, the Firm will take steps necessary to prepare the disclosure materials
required in connection with the Firm’s retention as lead restructuring counsel. In the near term,
the Firm will begin conflicts checks on potentially interested parties as provided by Client.

        If necessary, the Firm will prepare a preliminary draft of a schedule describing the Firm’s
relationships with certain interested parties (the “Disclosure Schedule”). The Firm will give
Client a draft of the Disclosure Schedule once it is available. Although the Firm believes that
these relationships do not constitute actual conflicts of interest, these relationships must be
described and disclosed in Client’s application to the court to retain the Firm.

        If in the Firm’s determination a conflict of interest arises in Client’s Restructuring Case
requiring separate conflicts counsel, then Client will be required to use separate conflicts counsel
in those matters.

       No Guarantee of Success. It is impossible to provide any promise or guarantee about
the outcome of Client’s matters. Nothing in this Agreement or any statement by Firm staff or
attorneys constitutes a promise or guarantee. Any comments about the outcome of Client’s
matter are simply expressions of judgment and are not binding on the Firm.

        Consent to Use of Information. In connection with future materials that, for marketing
purposes, describe facets of the Firm’s law practice and recite examples of matters the Firm
handles on behalf of clients, Client agrees that, if those materials avoid disclosing Client’s
confidences and secrets as defined by applicable ethical rules, they may identify Client as a
client, may contain factual synopses of Client’s matters, and may indicate generally the results
achieved.
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        Reimbursement of Fees and Expenses. Client agrees to promptly reimburse the Firm
for all internal or external fees and expenses, including the amount of the Firm’s attorney and
paralegal time at normal billing rates, as incurred by the Firm in connection with participating in,
preparing for, or responding to any action, claim, objection, suit, or proceeding brought by or
against any third-party that relates to the legal services provided by the Firm under this
Agreement. Without limiting the scope of the foregoing, and by way of example only, this
paragraph extends to all such fees and expenses incurred by the Firm: in responding to document
subpoenas, and preparing for and testifying at depositions and trials; and with respect to the
filing, preparation, prosecution or defense of any applications by the Firm for approval of fees
and expenses in a judicial, arbitral, or similar proceeding. Further, Client understands,
acknowledges, and agrees that in connection with a Restructuring Case, if Client has not objected
to the payment of a Firm invoice or to a Firm fee and expense application, has in fact paid such
invoice, or has approved such fee and expense application, then Client waives its right (and the
right of any successor entity as a result of a Transaction or otherwise) to subsequently object to
the payment of fees and expenses covered by such invoice or fee application.

         LLP. Kirkland & Ellis LLP is a limited liability partnership organized under the laws of
Illinois, and Kirkland & Ellis International LLP is a limited liability partnership organized under
the laws of Delaware. Pursuant to those statutory provisions, an obligation incurred by a limited
liability partnership, whether arising in tort, contract or otherwise, is solely the obligation of the
limited liability partnership, and partners are not personally liable, directly or indirectly, by way
of indemnification, contribution, assessment or otherwise, for such obligation solely by reason of
being or so acting as a partner.

        Governing Law. This Agreement shall be governed by, and construed in accordance
with, the laws of the State of Illinois, without giving effect to the conflicts of law principles
thereof.

        Miscellaneous. This Agreement sets forth the Parties’ entire agreement for rendering
professional services. It can be amended or modified only in writing and not orally or by course
of conduct. Each Party signing below is jointly and severally responsible for all obligations due
to the Firm and represents that each has full authority to execute this Agreement so that it is
binding. This Agreement may be signed in one or more counterparts and binds each Party
countersigning below, whether or not any other proposed signatory ever executes it. If any
provision of this Agreement or the application thereof is held invalid or unenforceable, the
invalidity or unenforceability shall not affect other provisions or applications of this Agreement
which can be given effect without such provisions or application, and to this end the provisions
of this Agreement are declared to be severable. Any agreement or waiver contained herein by
Client extends to any assignee or successor in interest to Client, including without limitation the
reorganized Client upon and after the effective date of a plan of reorganization in a Restructuring
Case.

       This Agreement is the product of arm’s-length negotiations between sophisticated parties,
and Client acknowledges that it is experienced with respect to the retention of legal counsel.
Therefore, the Parties acknowledge and agree that any otherwise applicable rule of contract
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construction or interpretation which provides that ambiguities shall be construed against the
drafter (and all similar rules of contract construction or interpretation) shall not apply to this
Agreement. The Parties further acknowledge that the Firm is not advising Client with respect to
this Agreement because the Firm would have a conflict of interest in doing so, and that Client
has consulted (or had the opportunity to consult) with legal counsel of its own choosing. Client
further acknowledges that Client has entered into this Agreement and agreed to all of its terms
and conditions voluntarily and fully-informed, based on adequate information and Client’s own
independent judgment. The Parties further acknowledge that they intend for this Agreement to
be effective and fully enforceable upon its execution and to be relied upon by the Parties.

                                              ***
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       Please confirm your agreement with the arrangements described in this letter by signing
the enclosed copy of this letter in the space provided below and returning it to us. Please
understand that, if we do not receive a signed copy of this letter within twenty-one days, we will
withdraw from representing you in this Engagement.

                                               Very truly yours,

                                               KIRKLAND & ELLIS LLP

                                               By:
                                                     Printed Name: Patrick J. Nash, Jr.
                                                     Title: Partner

       Agreed and accepted this 27th day of July, 2023

                                               Yellow Corporation



                                               By:
                                               Name: Leah Dawson
                                               Title: Executive Vice President, General Counsel
                                               & Secretary
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                               ADDENDUM: List of Client Subsidiaries

1105481 Ontario, Inc.
Express Lane Service, Inc.
New Penn Motor Express LLC
OPK Insurance Co. Ltd.
PT Meridian IQ Indonesia International
Roadway Express International, Inc.
Roadway Express S.A. de C.V.
Roadway LLC
Roadway Next Day Corporation
Transcontinental Lease, S. de R.L. de C.V.
USF Bestway Inc.
USF Dugan Inc.
USF Holland International Sales Corporation
USF Holland LLC
USF Red Star LLC
USF Reddaway Inc.
Yellow Freight Corporation
Yellow Logistics Inc.
YRC Association Solutions, Inc.
YRC Enterprise Services, Inc.
YRC Freight Canada Company
YRC Inc.
YRC International Investments, Inc.
YRC Logistics Asia Limited
YRC Logistics Inc.
YRC Logistics Services, Inc.
YRC Mortgages, LLC
YRC Regional Transportation, Inc.
YRC Services S. de R.L. de C.V.
YRC Transportation, S.A. de C.V.
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                                                                                 300 North LaSalle
                                                                                 Chicago, IL 60654
          Patrick J. Nash, Jr. P.C.                                                United States
           To Call Writer Directly:                                                                                                                     Facsimile:
               +1 312 862 2290                                                    +1 312 862 2000                                                    +1 312 862 2200
         patrick.nash@kirkland.com
                                                                                 www.kirkland.com



         KIRKLAND & ELLIS LLP

         CLIENT-REIMBURSABLE EXPENSES AND OTHER CHARGES

         Effective 01/01/2023

         The following outlines Kirkland & Ellis LLP’s (“K&E LLP”) policies and standard charges for
         various services performed by K&E LLP and/or by other third parties on behalf of the client
         which are often ancillary to our legal services. Services provided by in-house K&E LLP
         personnel are for the convenience of our clients. Given that these services are often ancillary to
         our legal services, in certain instances it may be appropriate and/or more cost efficient for these
         services to be outsourced to a third-party vendor. If services are provided beyond those outlined
         below, pricing will be based on K&E LLP’s approximate cost and/or comparable market pricing.

                      •            Duplicating, Reprographics and Printing: The following list details K&E
                                   LLP’s charges for duplicating, reprographics and printing services:

                                                 Black and White Copy or Print (all sizes of paper):
                                                     • $0.16 per impression for all U.S. offices
                                                     • €0.10 per impression in Munich
                                                     • £0.15 per impression in London
                                                     • HK$1.50 per impression in Hong Kong
                                                     • RMB1.00 per impression in Beijing and Shanghai
                                                 Color Copy or Print (all sizes of paper):
                                                     • $0.55 per impression
                                                 Scanned Images:
                                                     • $0.16 per page for black and white or color scans
                                                 Other Services:
                                                     • CD/DVD Duplicating or Mastering - $7/$10 per CD/DVD
                                                     • Binding - $0.70 per binding
                                                     • Large or specialized binders - $13/$27
                                                     • Tabs - $0.13 per item
                                                     • OCR/File Conversion - $0.03 per page
                                                     • Large Format Printing - $1.00 per sq. ft.




Austin   Bay Area   Beijing   Boston   Brussels   Dallas   Hong Kong   Houston   London   Los Angeles   Miami   Munich   New York   Paris   Salt Lake City   Shanghai   Washington, D.C.
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       •        Secretarial and Word Processing: Clients are not charged for secretarial and
                word processing activities incurred on their matters during standard business
                hours.

       •        Overtime Charges: Clients will be charged for overtime costs for secretarial and
                document services work if either (i) the client has specifically requested the after-
                hours work or (ii) the nature of the work being done for the client necessitates
                out-of-hours overtime and such work could not have been done during normal
                working hours. If these conditions are satisfied, costs for related overtime meals
                and transportation also will be charged.

       •        Travel Expenses: We charge clients our out-of-pocket costs for travel expenses
                including associated travel agency fees. We charge coach fares (business class
                for international flights) unless the client has approved business-class, first-class
                or an upgrade. K&E LLP personnel are instructed to incur only reasonable
                airfare, hotel and meal expenses. K&E LLP negotiates, uses, and passes along
                volume discount hotel and air rates whenever practicable. However, certain
                retrospective rebates may not be passed along.

       •        Catering Charges: Clients will be charged for any in-house catering service
                provided in connection with client matters.

       •        Communication Expenses: We do not charge clients for telephone calls,
                conference calls, videoconferences or faxes made from K&E LLP’s offices.

                Charges incurred for conference calls, videoconferences, cellular telephones, and
                calls made from other third-party locations will be charged to the client at the
                actual cost incurred. Further, other telecommunication expenses incurred at third-
                party locations (e.g., phone lines at trial sites, Internet access, etc.) will be charged
                to the client at the actual cost incurred.

       •        Overnight Delivery/Postage: We charge clients for the actual cost of overnight
                and special delivery (e.g., Express Mail, FedEx, and DHL), and U.S. postage for
                materials mailed on the client’s behalf. K&E LLP negotiates, uses, and passes
                along volume discount rates whenever practicable.

       •        Messengers: We charge clients for the actual cost of a third-party vendor
                messenger.
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       •        Library Research Services: Library Research staff provides research and
                document retrieval services at the request of attorneys, and clients are charged per
                hour for these services. Any expenses incurred in connection with the request,
                such as outside retrieval service or online research charges, are passed on to the
                client at cost, including any applicable discounts.

       •        Online Research Charges: K&E LLP charges for costs incurred in using third-
                party online research services in connection with a client matter. K&E LLP
                negotiates and uses discounts or special rates for online research services
                whenever possible and practicable and passes through the full benefit of any
                savings to the client based on actual usage.

       •        Inter-Library Loan Services: Our standard client charge for inter-library loan
                services when a K&E LLP library employee borrows a book from an outside
                source is $25 per title. There is no client charge for borrowing books from K&E
                LLP libraries in other cities or from outside collections when the title is part of the
                K&E LLP collection but unavailable.

       •        Off-Site Legal Files Storage: Clients are not charged for off-site storage of files
                unless the storage charge is approved in advance.

       •        Electronic Data Storage: K&E LLP will not charge clients for costs to store
                electronic data and files on K&E LLP’s systems if the data stored does not exceed
                100 gigabytes (GB). If the data stored for a specific client exceeds 100GB, K&E
                LLP will charge clients $6.00 per month/per GB for all network data stored until
                the data is either returned to the client or properly disposed of. For e-discovery
                data on the Relativity platform, K&E LLP will also charge clients $6.00 per
                month/per GB until the data is either returned to the client or properly disposed
                of.

       •        Tax Filings: Clients will be charged a fixed fee for certain tax filings. Our
                standard charge is $400 per Form 8832 election; $250 per Form 83(b) election for
                the first 20 forms, $100 per form for any additional forms; $1,000 each for Form
                SS-4 (Foreign); $100 each for Form SS-4 (Domestic); and $75 for each FIRPTA
                certificate.

       •        Calendar Court Services: Our standard charge is $25 for a court filing and other
                court services or transactions.
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       •        Supplies: There is no client charge for standard office supplies. Clients are
                charged for special items (e.g., a minute book, exhibit tabs/indexes/dividers,
                binding, etc.) and then at K&E LLP’s actual cost.

       •        Contract Attorneys and Contract Non-Attorney Billers: If there is a need to
                utilize a contract attorney or contract non-attorney on a client engagement, clients
                will be charged a standard hourly rate for these billers unless other specific billing
                arrangements are agreed between K&E LLP and client.

       •        Expert Witnesses, Experts of Other Types, and Other Third Party
                Consultants: If there is a need to utilize an expert witness, expert of other type,
                or other third party consultant such as accountants, investment bankers,
                academicians, other attorneys, etc. on a client engagement, clients will be
                requested to retain or pay these individuals directly unless specific billing
                arrangements are agreed between K&E LLP and client.

       •        Third Party Expenditures: Third party expenditures (e.g., corporate document
                and lien searches, lease of office space at Trial location, IT equipment rental, SEC
                and regulatory filings, etc.) incurred on behalf of a client, will be passed through
                to the client at actual cost. If the invoice exceeds $50,000, it is K&E LLP’s
                policy that wherever possible such charges will be directly billed to the client. In
                those circumstances where this is not possible, K&E LLP will seek
                reimbursement from our client prior to paying the vendor.

Unless otherwise noted, charges billed in foreign currencies are determined annually based on
current U.S. charges at an appropriate exchange rate.


                                                       Sincerely,




                                                       Patrick J. Nash, Jr. P.C.
